Case 1:01-cv-12257-PBS Document 6791-3 Filed 12/21/09 Page 1 of 5




                              Exhibit 2
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
        Case 1:01-cv-12257-PBS Document 6791-3 Filed 12/21/09 Page 2 of 5

Duzor, Deirdre                                               October 30, 2007
                                Washington, DC

                                                                              Page 1
                  UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS

   - - - - - - - - - - - - - - -

   IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

   PRICE LITIGATION               )   01-CV-12257-PBS

   THIS DOCUMENT RELATES TO       )

   U.S. ex rel. Ven-a-Care of     )   Judge Patti B. Saris

   the Florida Keys, Inc.         )

        v.                        )   Chief Magistrate

   Abbott Laboratories, Inc.,     )   Judge Marianne B.

   No. 06-CV-11337-PBS            )   Bowler

   - - - - - - - - - - - - - - -

             (cross-captions on following pages)



                                Washington, D.C.

                                Tuesday, October 30, 2007

                                9:00 a.m.



         Videotaped deposition of DEIRDRE DUZOR

                           Volume I




                         Henderson Legal Services
                               202-220-4158
                                                                  f5f0cb67-5db5-4a19-acea-ff4afd75844b
       Case 1:01-cv-12257-PBS Document 6791-3 Filed 12/21/09 Page 3 of 5

Duzor, Deirdre                                            October 30, 2007
                            Washington, DC

                                                                         Page 195
 1                  MR. WINGET-HERNANDEZ:             Objection, form.
 2         A.       No.     Again, I'm just saying that not
 3   having the history I don't know the basis of the
 4   statement saying that it is proving increasingly
 5   difficult.
 6         Q.       But based on your experience you did
 7   observe that it was difficult to get states to
 8   establish payment rates in adherence with the
 9   estimated acquisition cost, correct?
10                  MR. BATES:        Objection to the form.
11                  MS. MARTINEZ:         Objection to form.
12         A.       Well, in order to determine estimated
13   acquisition cost my understanding of what had been
14   done previously was to require states to do surveys
15   and get invoices.          And I think states were saying
16   that that was too difficult, too time consuming, too
17   out of date.        By the time they did it prices were
18   changing.      So that states were telling us that they
19   couldn't really do that anymore.
20         Q.       Is it your testimony that you didn't know
21   that states were reimbursing drugs at levels higher
22   than estimated acquisition cost?


                    Henderson Legal Services
                          202-220-4158
                                                                 f5f0cb67-5db5-4a19-acea-ff4afd75844b
       Case 1:01-cv-12257-PBS Document 6791-3 Filed 12/21/09 Page 4 of 5

Duzor, Deirdre                                            October 30, 2007
                            Washington, DC

                                                                         Page 196
 1                  MR. WINGET-HERNANDEZ:             Objection it form.
 2                  MR. BATES:        Objection to form.
 3                  MS. MARTINEZ:         Objection to form.
 4         A.       I think based on the IG reports, yes, we
 5   expected that they were.             But they were faced with
 6   difficult choices in terms of reducing their
 7   payments, which many states were doing, but they
 8   were doing it in a cautious manner.                   They didn't
 9   want to do it in a very precipitous manner because
10   of course their pharmacy -- their pharmacist and
11   their pharmacy organizations were telling people
12   that the sky would be falling in then.
13                  So I think they were in a difficult
14   position to know how much they could reduce their
15   rates.
16         Q.       Do you believe that their actions were
17   reasonable?
18                  MS. MARTINEZ:         Objection to form.
19                  MR. BATES:        Objection to form.
20         A.       I think we thought the direction they
21   were going was the proper direction.                   Whether they
22   were being overly cautious or not I think is a hard


                    Henderson Legal Services
                          202-220-4158
                                                                 f5f0cb67-5db5-4a19-acea-ff4afd75844b
       Case 1:01-cv-12257-PBS Document 6791-3 Filed 12/21/09 Page 5 of 5

Duzor, Deirdre                                            October 30, 2007
                            Washington, DC

                                                                         Page 197
 1   judgment at the federal level to make.                    But, you
 2   know, I think we thought they were going in the
 3   right direction.
 4         Q.       What would have happened if overnight all
 5   the AWPs reported for all drugs were automatically
 6   turned into real prices?
 7                  MR. WINGET-HERNANDEZ:             Objection to form.
 8                  MS. MARTINEZ:         Objection to form.
 9         Q.       What would have happened?
10                  MR. BATES:        Objection to form.
11         A.       I think that a lot of telephones would
12   have been ringing all over the country in Medicaid
13   offices from pharmacists would be saying -- and they
14   do now, when states -- my understanding -- when
15   states establish MACs.            If a pharmacist can't get
16   the drug at the price that they're being reimbursed
17   by Medicaid they don't hesitate to call Medicaid and
18   say I'm going to come in and show you my invoice.
19   Here it is.       Here's what I'm paying.              I can't take
20   reimbursement from you that's less than what it's
21   costing me.
22                  So I think they hear about it from the


                    Henderson Legal Services
                          202-220-4158
                                                                 f5f0cb67-5db5-4a19-acea-ff4afd75844b
